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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER RE WAVE 8 DAUBERT
                                                    MOTIONS
   ALL WAVE 8 CASES




       As the parties prepare their Daubert motions in Wave 8, they should carefully review the

Court’s recent Wave 7 orders. If a party is considering filing a motion that covers an issue

addressed in a previous order, they should clearly note in their motion that the issue is being

raised for preservation purposes only.

       IT IS SO ORDERED.

Dated: January 14, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
